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                        Exhibit B
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https://montanafreepress.org/2022/01/21/legislators-mull-limited-options-in-psc-
redistricting-bind/
Legislators mull limited options in PSC redistricting bind
Calling a special session would let lawmakers preempt federal judges who are
poised to redraw outdated utility board districts for the 2022 election. But it’s not
necessarily a popular option.
by Eric Dietrich
01.21.2022
HELENA — With a federal court likely to bar the state from using its aging Public
Service Commission district map in this year’s election, lawmakers in Montana’s
Republican-controlled Legislature face a tricky choice: Let the election proceed with
a court-ordered map, or call a special session in an attempt to preempt the courts by
drawing new districts to account for nearly 20 years of population shifts themselves.
While many GOP lawmakers bristle at the idea of letting the federal judiciary
dictate a map for a Montana election, interviews with legislators from both parties
this week indicate the special session option may not be in the cards.
That’s especially true since the maps for this year’s election in theory need to be
pinned down by March 14, the filing deadline state law specifies in order to give
candidates enough time to campaign before the June 7 primary election.
“I hate to rule anything out right now, but my thought process is this needs to be
dealt with in a regular session, not a special session,” said Sen. Greg Hertz, R-
Polson. “It’s a complex issue, and we need public involvement too.”
“I don’t think there’s much appetite from our caucus for a special session,” said
House Minority Leader Kim Abbott, D-Helena. “We don’t see a way that we can
productively get into session, draw districts that will be constitutional, and get
those approved in the time frame we have.”
The Montana Legislature meets in regular session in the winters of odd-numbered
years. That means it isn’t scheduled to convene again until 2023, after this year’s
election. However, the Montana Constitution also provides for special sessions,
which focus on urgent topics that can’t wait until the next regular session. They can
be called either by the governor or by a majority vote of the 150 state
representatives and senators.
Given the challenge of gathering support from lawmakers scattered across the
state, every special session in state history has been initially called by the governor.
It is, however, somewhat common for lawmakers to vote to expand the scope of a
special session once they’re gathered in Helena — precedent that raises the


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possibility that a special session called to deal with PSC districting in the coming
months could open the door to politically charged proposals on topics such as federal
COVID relief funding or election integrity.
The office of Gov. Greg Gianforte didn’t provide a direct answer Thursday to
questions about whether he is considering calling a special session to address the
PSC election issue.
“Montana law rests public service commission districts with the legislature, and the
governor remains willing to work with the legislature to get the job done,” Gianforte
press secretary Brooke Stroyke said in an emailed statement.
One advocate for a special session is Rep. Derek Skees, a hardline Republican from
Kalispell who is running for a PSC seat this year. He told Montana Free Press in an
interview Thursday that it would be a “travesty” to have a map drawn by federal
judges instead of the Legislature.
He’s said he’s optimistic he’ll be able to persuade his peers that a special session is
necessary. “I can’t say that it will. I know that I’m advocating for it,” he said.
Plaintiffs in a new lawsuit argue that Public Service Commission districts, which
haven’t been updated by the Legislature since 2003, now have unbalanced
populations. They want the districts redrawn by federal courts.
Skees also said he is worried about federal judges selecting a map that stymies his
campaign by placing him in the same district as incumbent commissioner Randy
Pinocci of Sun River, a fellow hardline Republican who is up for re-election this
year.
The five-member PSC regulates utility companies that provide Montana consumers
services such as electricity, natural gas and trash hauling. The commissioners, who
are paid a $112,443 salary, are elected to four-year terms. The seats are staggered
so that either two or three commission seats are up for election in each even-year
election cycle.
Two PSC seats are up for election this year: Pinocci’s, which represents Great Falls
and northeast Montana, and one held by termed-out commissioner Brad Johnson
that includes Helena and Kalispell.
While Democratic candidates have received 43% of the votes cast in PSC elections
the last two cycles, all five commission seats are held by Republicans.
Environmentalists, climate activists and Democratic candidates have consistently
criticized the PSC in recent years for not being more aggressive about pushing
NorthWestern Energy and other power utilities to more rapidly adopt renewable
energy sources.




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The federal lawsuit about the districts was filed Dec. 6 by plaintiffs Bob Brown, a
former Republican who served as secretary of state in the early 2000s; former
Gallatin County Commissioner Don Seifert, also a Republican; and Gallatin County
resident Hailey Sinoff. They are represented by attorneys with Helena-based Upper
Seven Law and Sidney-based Netzer Law Office. Both firms are also involved in
separate cases challenging legislation passed by the 2021 Legislature.
The plaintiffs argue that the current PSC districts, which the Legislature hasn’t
revised since 2003, have become so wildly out of balance as a result of population
shifts that they now violate the “one person one vote” principle guaranteed by the
U.S. Constitution. State attorneys have acknowledged that the districts are
unbalanced, but have tried to argue that the Legislature should be given a chance
to redraw the maps in the 2023 session, the first regularly scheduled session where
lawmakers will have access to population data from the 2020 census.
A three-judge panel appointed to hear the case has in initial rulings appeared
sympathetic to the plaintiffs. In a Dec. 22 order, Judge Donald Molloy called the
current map “presumptively unconstitutional” and the three judges have barred
state election officials from certifying PSC candidates while the litigation remains
active. In a separate order earlier this month, Molloy laid out a schedule that could
see the case resolved by the state’s March 14 filing deadline — an ambitious time
line considering that high-profile federal court cases often take years to litigate.
In any case, lawmakers of both parties said this week that they expect the
Legislature to redraw the PSC districts next year whether or not a court-ordered
map is used for this fall’s election. The redistricting job, they said, is properly the
Legislature’s responsibility.
“It’s better if we take the time as a Legislature to work through what works for us,”
said Senate Majority Leader Jill Cohenour, D-East Helena. “I think we need to take
that time.”
Hertz, who has another session left in his four-year Senate term, pledged to bring
legislation himself in 2023.
“I will have a bill and I will push forward on redrawing PSC districts,” he said. “We
definitely need to redraw the lines. There’s no question about that.




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